Case 21-04019-KKS Doc9-7 Filed 07/22/21 Page 1of2

FENB Local Form 5

Exhibit Tag/ Cover Sheet

Party submitting: Plaintiff Fx. # | 28

Admitted: Yes or No (circle one)

Debtor: Julian Rodney Rooks Jr.

 

Case No.: 21-40139-KKS

 

 

 

Ady. No.:

Nature of Hearing/

Docket No:

Dated 07/22 ,2021.

 

By: » Deputy Clerk

 
 

TELECOM*USA

Bel erersctelee tila terse

 

This portion of your bill is provided as a service of Ameritech

to the ahove company. Please review alf charges

carefully - they may include those of a service

provider nct shown on a previous bill. In addition,

honpayment of tall charges may resultin disconnection af focal
semice, and other services may be restricted if not patd.

Unpaid accounts also may be subjectto collection action. If you
have quest ons about any of the charges appearing on this page,
please call the number shown ahove.

 

Beret ria O- ests

Long Distance
No. Date Time Place Called Number Cede Min.
itemized Calls
4 7-05 40184 220sHEATOR IL 630 752-9295
2 7-05 429P 220FAIRFAX VA 703 764-3777
3 7-05 745P 220TALLAWA FL 850 656-4472
4 7-08 i41P 220CHICAGO IL 312 831-2827
5 7-08 O1P Z20CHICAGO IL 773 404-2897
6 7-08 f0SP 220CHICAGO IL 773 404-2897
T 7-00 12497 220FALRFAX VA 703 764-3777
8 7-4 11504 220TALLAHA FL 850 434-5304
3 7-10 11540 Z20TALLAHA FL 850 431-5301
10 7-30 2214P 220CHERRY IL 815 339-3260
To 7-40 T217P Q00CHERRY IL 815 332-3950
42 7-42 056A 220HAVANA FL 850 539-8478
13 7-42 S0OP 220TALLAHA FL 850 980-0447
14 7-12 -809P 220TALLARA FL 85@ 980-0447
15 7-12 814P 220TALLAHA FL 850 980-0447
16 7-12 814P 220TALLAHA FL 850 990-0447
17) 7-44 GOP 220TALLAHA FL 850 877-6
18 (7-45 Bi4P 2207ALLAHA FL 859,48
497-15 B46P 220TALLAHA FL 2
20 7-16 433? 220TALLABA FL 850

# xt
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22 7-20 {405A 220TALLAHA FI, 850 921-378
22° 7-21 1176 220PENSACO FL 850 429-743
24 «7-22 302P 2207ALLAHA FL 850 656-4442
@ 7-22 702P 2207ALLAHA FL 850 980-0447
26 7-22 T19P DO0TALLANA FI, 859 S80-G4ad7
27 «67-23 8042 220TALLAHA FL 880 656-4442
Total Hemized Calis

 

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BS

 

 

 

 

Koy for Calling Codes:

O Day E Evening N Night/Weekend
otal Long Distance Charges 30.65
Local, State and Federal Charges

Municipal in*rastructure Maintenance Fee 3t
State Infrastructure Maintenance Fee AS
State Additional Charges Mi
Totat Local, State and Federal Charges 4

 

022-1 (3/993

KIMBERLY TEBO

APT LE

124 W WASHINGTON 8.
DAK PARK, 1L 60302-4354

 AccountNumber QMMNNIIAT73 5.

Billing Date Aug 7, 2007

 

ie ae

". ” Questions? 1-800-424-7277

 

Taxes

Federal at 3% 52
Rlineis at 7% 2.15
Total Taxes 367
Total TELECOM"USA Charges 34.19

ai

Printed on Secyelable Paper

 
 
